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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            NORTHERN DISTRICT OF IOWA


 IN RE:                                           Chapter 11
                                                  Case No. 18-01297
 VEROBLUE FARMS USA, INC., et al.,
                                                  MOTION TO RESET HEARING ON
                   DEBTORS.                       PLAINTIFFS’ MOTION TO DEEM
                                                  ADMITTED




 VEROBLUE FARMS USA, INC., et al.,
                                                  Adversary No. 19-09015
                  PLAINTIFFS

                       vs.

 CASSELS BROCK & BLACKWELL LLP

                 DEFENDANTS.


         The Debtors, VeroBlue Farms USA, Inc, et al., (“Plaintiffs”), comprised of VeroBlue

Farms USA, Inc. (“VBF”), VBF Operations, Inc. (“VBF Ops”), VBF Transport, Inc. (“VBF

Transport”), VBF IP, Inc. (“VBP IP”) and Iowa’s First, Inc. (“Iowa’s First”), by and through

their counsel, and for their Motion to Reset Hearing On Plaintiffs’ Motion to Deem Admitted

state:

         1.     Plaintiffs filed Plaintiffs’ Motion to Deem Admitted (Docket 47) on January 6,

                2020, which requested the Court to deem admitted certain insufficient answers to

                the Amended Complaint or alternatively to require Defendant to replead the same.

         2.     On January 30, 2020, the Court entered an order (Docket 48) setting “Plaintiffs’

                Motion to Deem Admitted (Docket 47)” for hearing on February 20, 2020, at

                10:30 AM.
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       3.     Plaintiffs also filed a Motion to Compel Against Defendant (Docket 49) on

              February 12, 2020. This motion included requests to deem admitted Plaintiffs’

              discovery requests for admission.

       4.     On February 14, 2020, the Court entered an order scheduling “Plaintiffs’ Motion

              to Compel Against Defendant (Docket 49”) at the same time as the hearing for the

              Motion to Deem Admitted, on February 20, 2020, at 10:30 AM.

       5.     Following the hearing, the Court entered its Memorandum and Order Re Motion

              to Deem Admitted and Motion to Compel Discovery (Docket 53). This Order

              addressed Plaintiff’s request to deem admitted Plaintiff’s requests for admission.

       6.     Plaintiffs’ Motion to Deem Admitted as to certain insufficient answers to the

              Amended Complaint (Docket 47) has not been ruled on.

       WHEREFORE, Plaintiffs respectfully request the Court to reset a hearing for Plaintiffs’

Motion to Deem Admitted (Docket 47) which pertains to Defendant’s insufficient answers.



                                            Respectfully submitted,

                                                  VeroBlue Farms USA, Inc., VBF
                                                  Operations, Inc., VBF Transport, Inc.,
                                                  VBF IP, Inc., and Iowa’s First, Inc.

 BY: /s/ Dan Childers                             BY: /s/ Robert H. Lang
 One of their Attorneys                           One of Their Attorneys

 Dan Childers                                     Robert H. Lang
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                                     CERTIFICATE OF SERVICE
         The undersigned hereby certifies that on the 20th day of March, 2020 a copy of the foregoing
document was filed with the Clerk of Court for the United States Bankruptcy Court for the Northern
District of lowa using the CM/ECF system, and served electronically on those participants that receive
service through the CM/ECF System.
Signed: /s/ Melissa Peyton
